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                          IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                        MDL No. 3076
                                 Case No. 1:23-md-03076-KMM

   IN RE:

   FTX Cryptocurrency Exchange Collapse Litigation

   This Document Relates To:
   Garrison, et al. v. Kevin Paffrath, Graham Stephan,
   Andrei Jikh, Jaspreet Singh, Brian Jung,
   Jeremy Lefebvre, Tom Nash, Ben Armstrong,
   Erika Kullberg, and Creators Agency, LLC,
   Case No. 23-cv-21023
                                                            /

        UNOPPOSED MOTION FOR LEAVE TO APPEAR AT HEARING VIA ZOOM

          Defendants Creators Agency LLC, Erika Kullberg, and Brian Jung (“Defendants”)

   hereby move this Court to enter an order authorizing their lead attorney Derek Adams, to appear

   by Zoom at the hearing set for January 17, 2024 at 3:00 p.m. before the Honorable Magistrate

   Judge Eduardo I. Sanchez, and in support thereof states as follows:

          1.      On January 9, 2024, The Honorable Magistrate Judge Eduardo I. Sanchez entered

   a Scheduling Order On Jurisdictional Discovery Motions (“Order”) [EFC 454].

          2.      The Order scheduled an in person hearing on the parties’ discovery matters for

   January 17, 2024 at 3:00 p.m.

          3.      Defendants’ lead counsel Derek Adams, is located in Washington, D.C.

   Mr. Adams intends to argue the motions pending before the Court. However, it would not be

   economical and would be more efficient and cost effective if Mr. Adams were allowed to

   participate at the hearing via Zoom.

          4.      No party will be prejudiced by the granting of this motion.
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            WHEREFORE, Defendants Creator Agency, Erika Kullberg and Brian Jung respectfully

   request an order authorizing Derek Adams to appear remotely via Zoom at the January 17, 2024

   hearing, and for such other further relief as may be just.

                                    Local Rule 7.1(a)(3) Certification

            Counsel hereby certifies, in compliance with Local Rule 7.1(a)(3), that as counsel for

   movant he conferenced with Counsel for Plaintiff who does not oppose the relief requested by this

   motion.

                                     CERTIFICATE OF SERVICE

            I hereby certify that on January 12, 2024, I e-filed the foregoing document using the Court’s

   CM/ECF system, which will send a notice of electronic filing to all counsel of record.

                                                 STEARNS WEAVER MILLER WEISSLER
                                                 ALHADEFF & SITTERSON, P.A.


                                                 By: /s/ Jose G. Sepulveda
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                                                      and

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                                                      Erika Kullberg and Brian Jung




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